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                       Exhibit A – Compensation by Professional
                        January 1, 2022 through March 31, 2022

                                           Hourly Billing Rate   Total
                                                                             Total
  First Name     Last Name     Position      in Effect as of     Hours
                                                                          Compensation
                                            January 1, 2022      Billed
Philip           Mindlin      Of Counsel               $1,950      88.5     $172,575.00
Adam O.          Emmerich     Partner                  $1,950         3       $5,850.00
Wayne M.         Carlin       Partner                  $1,950       1.9       $3,705.00
Rachelle         Silverberg   Partner                  $1,850      83.1    $153,735.00
Emil A.          Kleinhaus    Partner                  $1,600      18.7      $29,920.00
Victor           Goldfeld     Partner                  $1,550      43.6      $67,580.00
John R.          Sobolewski   Partner                  $1,500        22      $33,000.00
Neil M.          Snyder       Counsel                  $1,400     316.7     $443,380.00
S. Christopher   Szczerban    Counsel                  $1,400      57.6      $80,640.00
Mark A.          Koenig       Counsel                  $1,150         6       $6,900.00
Sahand           Moarefy      Associate                $1,125      24.8      $27,900.00
Michael H.       Cassel       Associate                $1,125       8.5       $9,562.50
Kisho            Watanabe     Associate                $1,025      45.5      $46,637.50
Nicholas A.      Krafft       Associate                  $925     119.8    $110,815.00
Malcolm F.       Evans        Associate                 $925      162.3    $150,127.50
Iliria           Camaj        Associate                  $825       6.2       $5,115.00
Mitchell S.      Levy         Associate                  $825      55.8      $46,035.00
Alexander M.     Miles        Associate                 $725       56.6      $41,035.00
Morgan A.        Arthur       Associate                  $700      51.3      $35,910.00
Jordana S.       Dreyfuss     Paralegal                  $425      22.4       $9,520.00
Andrew           Albor        Paralegal                  $325        26       $8,450.00
Madison S.       Lai          Paralegal                  $325       4.8       $1,560.00
Marie K.         Ceske        Paralegal                  $325       4.5       $1,462.50
Jack F.          Curley       Paralegal                  $325       6.2       $2,015.00
Shera            Goldman      Library                   $300        2.9         $870.00
Janeen M.        Byron        Manager                    $300       4.8       $1,440.00
Elizabeth        Grunwald     Library                    $300         3         $900.00
Nancy R.         McKay        Library                    $300         2         $600.00
Total                                                            1248.5   $1,497,240.00

                                               Grand Total:                $1,497,240.00
                                               Attorney Compensation:      $1,470,422.50
                                               Total Attorney Hours:       1,171.9
                                               Attorney Blended Rate:      $1,254.73
